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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                         BILLINGS DIVISION

FLAGSTONE DEVELOPMENT, LLC,                 Cause No. CV-08-100-BLGRFC
an Arizona limited liability company,
and LAWRENCE A. HEATH,
                              Plaintiffs,
           -vs-
WAYNE JOYNER, JUSTIN JOYNER,
as individuals; ROCKY MOUNTAIN              DEFENDANT AMERICAN TITLE
TIMBERLANDS, LLC, a Montana                       AND ESCROW’S
limited liability company, WAYNE                 COMBINED BRIEF
MARCHWICK, AMERICAN TITLE                         IN SUPPORT OF
AND ESCROW, a Montana corpor-                  MOTION FOR PARTIAL
ation, FIRST AMERICAN TITLE                  SUMMARY JUDGMENT ON
COMPANY, a California corporation,                   DAMAGES
DEVELOPER FINANCE CORPOR-                                &
ATION, a Massachusetts corporation,            MOTION TO EXCLUDE
NICHOLAS POWERS, III, a/k/a                    PLAINTIFFS' DAMAGES
NICHOLAS D. POWERS, JAKE                      EXPERT DALE GRABOIS
KORELL, LANDMARK OF BILLINGS,
INC., a Montana corporation, JON
USSIN, U BAR S REAL ESTATE, a
Montana corporation, and JOHN
DOES 11 through 30,
                            Defendants.
     In this case, Plaintiffs claim that, but for the alleged conduct of the
various Defendants, they would have sold over 40 million dollars in twenty-
acre lots in only 3 years near Roundup, Montana, and would have made
nearly 18 million dollars in profits.   Plaintiffs seek those allegedly lost
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development profits as damages in this case. Plaintiffs disclosed a damages
expert, Dale Grabois, as the support for their damages claim.
      Both Plaintiffs' damages claim for lost development profits and the
opinion of Grabois are hopelessly speculative, and both fail as a matter of law.
Grabois' damages opinion and Flagstone's lost development profits claim are
based on nothing more than some investment projections and estimates
made by Plaintiff Heath (which ultimately turned out to be significantly
inaccurate), and Grabois' opinion is merely an inadmissible "take my word for
it, the damages are reasonable" stab at an expert opinion.            Plaintiffs'
damages claim should be dismissed pursuant to American Title & Escrow's
Motion for Partial Summary Judgment, and Grabois' opinion should be
excluded from evidence pursuant to American Title's Motion to Exclude.
                          STATEMENT OF FACTS
      Plaintiffs disclosed Dale Grabois as an expert on Plaintiffs' damages.
(Statement of Undisputed Facts ("SOF"), ¶ 1) Grabois' C.V. indicates he has
not practiced as an accountant since 1990. (Id.) Plaintiffs served an expert
Report for Grabois' lost development profits opinion. (SOF ¶ 2) Grabois
opines in his Report that Plaintiffs' total damages consist of lost development
profits in the amount of $17,709,985.50. (SOF ¶ 3)
      Grabois calculated all of the alleged lost profit damages in only one full
page in his Report. (SOF ¶ 3) Other than a C.V., Grabois' Report had no
attachments, no exhibits, and virtually no calculations. (SOF ¶ 2) Grabois
merely stated a variety of bald financial estimates, such as what he said gross
sales, costs, and "post-development cash flows" would allegedly have been.
(Id.) Grabois did not even bother to provide his source for his estimates. (Id.)
      For example, Grabois stated "the development would have brought in

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$40,150,000 in Gross Sales." (SOF ¶ 3) Similarly, Grabois stated "[c]osts
would have been $25,900,000." (Id.) Grabois did not provide any basis,
authority, or support to demonstrate how he came up with his Gross Sales or
cost estimates, or any of his other estimates; he just said that is what they
were, and left the reader to figure out how he came up with them. (Id.)
      A review of the materials in his Report which Grabois claimed to have
reviewed indicates Grabois concocted his opinion by simply reading, and
copying from, an investment prospectus issued by Flagstone to potential
investors. (SOF ¶ 2) For example, Flagstone's prospectus projected total
gross sales of $40,150,000. (SOF ¶ 4, at p. 17) So did the Grabois' Report.
(SOF ¶ 2, at p. 5) Flagstone's prospectus also projected sales of 585 lots in
three phases, with escalating lot prices in each phase from $65,000 to
$68,000 to $72,000. (SOF ¶ 4, at p. 17) So did the Grabois' Report. (SOF
¶ 2, at p. 4 & p. 5)
      Flagstone's also estimated development costs, including purchase
costs, commissions, operating expenses, marketing costs, and loan costs, of
$25,900,000. (SOF ¶ 4, at p. 19) So did the Grabois' Report. (SOF ¶ 2, at
p. 5) The prospectus estimated a gross profit of $14,250,000, and so did the
Grabois' Report. (SOF ¶ 4, at p. 19; SOF ¶ 2, at p. 5) Flagstone's prospectus
then deducted a projected $865,000 interest payment, and split the remaining
"profit" equally between the prospective investors and the developer in order
to come up with a projected sales profit of $6,692,500. (SOF ¶ 4, at p. 21)
This is exactly what the Grabois' Report did too. (SOF ¶ 2, at p. 6)
      The prospectus also estimated "post-development cash flows" for years
four through eighteen of $19,001,747. Most of this estimated cash flow came
from seller-financed lot sales, based on the prospectus' estimate that 60% of

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all lot sales would be financed by Flagstone at 10.75% interest. (SOF ¶ 4, at
p. 21) The prospectus further estimated management fees in the amount of
$660,000 which Flagstone could might earn during the first eighteen years of
the development. Grabois adopted and copied every one of these estimates,
too. (SOF ¶ 4, at pp. 18 & 21; SOF ¶ 2, at p. 6)
      Finally, Grabois adopted from Flagstone's prospectus a 2 percent
commission on every lot sale for Flagstone. (SOF ¶ 4, at p. 16; SOF ¶ 2, at
p. 6) However, Grabois appears to have made a mathematical mistake in
doing so. The prospectus, and Grabois, project total lot sales for all 585 lots
to be $40,150,000, so 2 percent of lots sales should be $803,000. Grabois
calculated the 2 percent commission at $856,612. Since the Grabois Report
contained no exhibits, no supporting calculations, and no other information
which explained the basis for the commission calculation, it is impossible to
know how Grabois actually calculated it; all the Grabois Report provided was
the bald conclusion that 2 percent of total lot sales equaled $856,612. (SOF
¶ 2, at p. 6) Nevertheless, Grabois appears to have erred in the calculation
of the projected sales commissions.
      Grabois then simply totaled up the six projections he copied out of
Flagstone's prospectus to come up with his "Total Lost Profit" number of
$17,709,985.50, and stated it looked "reasonable" to him. (SOF ¶ 2, at p. 6)
      In addition to the problem that Grabois merely copied down numbers
from Flagstone's investment prospectus, there are other obvious problems
with Grabois' reliance on the prospectus. First, the prospectus which Grabois
relied upon and copied as the basis for his damages opinion came straight
from Plaintiff Heath. Heath prepared the prospectus himself. (SOF ¶ 5) He
wrote the prospectus in late September to mid October, 2007. (SOF ¶ 6)

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Therefore, Grabois' opinion adopted Plaintiffs' own projections and
repackaged them under the guise of an "expert opinion."
      Second, the prospectus was only an estimate or a projection in the first
place, and turned out to be based upon incorrect information about the
development. For instance, Heath learned approximately five to six months
after writing the prospectus that due to drainage issues the land for
Flagstone's planned development would not sustain the projected 585 lots.
Instead, the land would sustain only 449 develop-able lots. (SOF ¶ 7)
Accordingly, Heath told his financial planners to reduce the projected lot
numbers in their ongoing financial projections to 449 lots. (Id. at p. 1) Yet
Grabois stuck with the original 585 lot estimate in his opinion and deemed it
reasonable. (SOF ¶ 2, at p. 6)
      Heath also subsequently learned that due to pending Musselshell
County planning requirements to mandate professionally engineered roads
and drainage systems, engineering costs to construct the roads in Flagstone's
planned development would be far higher than originally projected, perhaps
as much as $200,000 per mile. (SOF ¶ 9) Heath admitted in his deposition
that the costs projected in the prospectus subsequently ended in a "complete
state of disarray," and the projected numbers in the prospectus were not
reliable as a result. (SOF ¶ 10) Heath further admitted his projections in his
prospectus were "completely undone" by the drainage issue which reduced
the actual number of saleable lots for his project. (SOF ¶ 11) And Heath
admitted in another email in April, 2008, the new requirements made his
planned development "economically unfeasible (sic)":
      [The County's new planning requirement] triples the road
      construction costs of the planned development and makes the
      project economically unfeasible. It also spells the end of land
      development in the county. They just don't know it yet.
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(SOF ¶ 12) Similarly, Heath admitted in an email in March, 2008, that the
"numbers" no longer worked for his cash flow model due to the subsequent
changes, including fewer lots for sale and lower sales values, among other
issues. (SOF ¶ 13)
      Nevertheless, Grabois stuck entirely to the original speculative
projections contained in the prospectus.
                                  ARGUMENT
      Grabois damages opinion is far too unreliable to be admissible and
should be excluded from evidence or testimony. He based it on nothing more
than speculative financial estimates which turned out to be inaccurate in the
end. Similarly, Plaintiffs' damages claim for alleged lost development profits
is nothing but speculation and should be dismissed.
I.    GRABOIS' DAMAGES OPINION IS NOT ADMISSIBLE.
      Grabois' proposed expert opinion testimony on alleged damages
incurred by Plaintiffs should be excluded. Grabois' opinion cannot satisfy the
standards for reliability imposed under Rule 702 of the Federal Rules of
Evidence and Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579,
597 (1993) (expert's testimony must rest on reliable foundation). Grabois'
proposed opinion testimony is nothing more than unsupported speculation
disguised as an expert opinion.
      Plaintiffs in this case bear the burden of establishing the admissibility of
Grabois' proposed expert opinion testimony on damages. See Daubert,
supra, 509 U.S. at 592, nt. 10. The admissibility of expert testimony is
governed by Federal Rule of Evidence 702. The determination of whether
expert testimony is admissible under Rule 702 is not an issue of fact subject



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to the summary judgment standards. See General Elec. Co. v. Joiner, 522
U.S. 136, 143 (1997) (proper standard is abuse of discretion standard).
      Rule 702, as interpreted by the United States Supreme Court in Daubert
as well as the Ninth Circuit, established several standards for admissible
expert testimony. The standards set forth in Daubert are to be applied to all
expert testimony, not just to "scientific" expert testimony. See Kumho Tire Co.
v. Carmichael, 526 U.S. 137, 147 (1999). First, "Rule 702 requires that the
evidence 'assist the trier of fact,' or in other words, that it be relevant." See
Guidroz-Brault v. Missouri Pac. R. Co., 254 F.3d 825, 829 (9th Cir. 2001),
citing Daubert, 509 U.S. at 591. Second, Rule 702 "demands that the
evidence be reliable." See Id., citing Daubert at 590.
      Rule 702 requires district court judges to act as gatekeepers and to
screen expert testimony both for reliability and relevance. See Daubert, 509
U.S. at 590-91. The gatekeeping function requires more than simply "taking
the expert's word for it." See e.g., Daubert v. Merrell Dow Pharm., Inc., 43
F.3d 1311, 1319 (9th Cir. 1995) ("Daubert II").
      The Supreme Court, the Ninth Circuit, and the District Court of Montana
have all specifically ruled that admissible expert testimony does not include
unsupported speculation and subjective belief. See Guidroz-Brault, 254 F.3d
at 829, citing Daubert at 590; see also, Claar v. Burlington Northern R.R. Co.,
29 F.3d 499, 502 (9th Cir. 1994) (affirming exclusion of experts' opinion
testimony because experts failed to demonstrate conclusions were based
upon anything more than "subjective beliefs and unsupported speculation");
United States v. W.R. Grace, 455 F. Supp. 2d 1181, 1187 (D. Mont. 2006).
As a consequence, it is well-settled that an expert's testimony should be
excluded where it is based on subjective belief or unsupported speculation

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which amounts to no more than a bald conclusion (sometimes called an "ipse
dixit" opinion) or guesswork. See General Electric, 522 U.S. at 146 (holding
that trial court may properly exclude ipse dixit opinions); Domingo ex rel.
Domingo v. T.K., 289 F.3d 600, 607 (9th Cir. 2002) (affirming the exclusion of
ipse dixit testimony of plaintiff's expert which was not based upon objective,
verifiable evidence); Hall v. Baxter Healthcare Corp., 947 F. Supp. 1387,
1407 (D. Or. 1996) (excluding expert opinion because it was "no more than
educated guesses dressed up in evening clothes"). District Judge Molloy
accurately summarized the ipse dixit standard as an "expert's 'bald assurance
of validity is not enough.' " See W.R. Grace, at 1187, citing Daubert II, 43
F.3d at 1316.
      In this case, Grabois' proposed expert opinion on alleged damages
incurred by Plaintiffs is the epitome of an unreliable, bald conclusion. Grabois
calculated his opinion that Plaintiffs' damages were $17,709,985.50 in
approximately one full page in his Report. Essentially all Grabois did to
allegedly form an "expert" opinion on Plaintiffs' damages was to review
Flagstone's prospectus, copy down numbers from it, add them up, and state
that they seemed "reasonable and supported" to him. (See SOF ¶ 2, at p. 6)
Anyone with a calculator and access to the prospectus could have done what
Grabois did; as a result, Grabois' opinion is not a proper expert opinion.
      The Court's gatekeeping function pursuant to Daubert prevents simply
"taking [Grabois'] word for it," nor can the Court accept Grabois' "bald
assurance" that his opinion is reasonable and supported. See e.g., Daubert
II, 43 F.3d at 1319, & W.R. Grace, at 1187. Grabois' bald opinion that
$17,709,985.50 looks "reasonable and supported" to him is far too unreliable
to be admissible, and Grabois' opinion should be excluded as a consequence.

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     Additionally, Grabois' damages opinion should also be excluded
because it is a product of rampant speculation. Grabois copied his financial
projections directly from Flagstone's investment prospectus, which Plaintiff
Heath wrote. Heath speculated in his prospectus about a veritable mountain
of financial projections. Heath speculated as to each of the following:
     -     the individual size of the lots (20 acres) and how many lots (585)
           Flagstone would be able to develop on the raw land it was
           seeking to acquire;
     -     how many of those lots Flagstone would be able to sell (all 585);
     -     what price those lots might bring in the open market ($65,000 in
           the first year, $68,000 in the second year, and $72,000 in the third
           year);
     -     how many "phases" of sales it would take to sell all of the lots at
           the prices projected (three) and how long each "phase" would last
           (one year each);
     -     realtors' commissions and closing costs on all lots sales
           ($3,919,000);
     -     the amount of all costs of developing the property physically
           ($7,657,000);
     -     the amount of all operating costs for the projected development
           ($5,756,000), including marketing, management, sales office,
           accounting, travel, and insurance costs;
     -     interest expenses and loan fees ($3,934,000);
     -     the amount of interest income from notes receivable Flagstone
           could earn ($3,243,000);
     -     the percent of all lots sales which Flagstone would finance for the
           lot buyer (60%);
     -     the terms Flagstone could obtain for its seller-financed lot sales,
           including the interest rate it could successfully charge (10.75%)
           and the minimum FICO score it would be able to get (580);
     -     the amount of its seller-financed lot sales it could finance in a
           hypothecation loan (80% of all seller-financed lot sales); and
     -     the management fees Flagstone could earn by managing the
           development from year one through year 18 ($660,000).

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      Grabois copied, adopted, and assumed every one of Heath's
speculative projections. Grabois did not calculate any of his own projections,
or attempt to test, verify, cross-check or compare Heath's projections to other
similarly-situated projects. Grabois did not justify or support a single one of
these speculative assumptions, nor did he provide a basis for any of them.
Grabois just reviewed them and said they looked reasonable to him.
      For instance, Grabois did not provide any evidentiary basis at all to
support the assumption that Flagstone could have reasonably expected to sell
approximately 12,000 acres spread across 585 twenty acre lots near
Roundup, Montana, in a three year period. Grabois merely concluded that it
seemed reasonable to him.
      Grabois' opinion is exactly the type of "unsupported speculation"
disguised as an expert opinion which Rule 702 and the Daubert standards
deem inadmissible, and rightly so.         Grabois blindly adopted over ten
profoundly significant financial projections from Heath, the projections running
the gamut from the number of lots for sale, to the lot sales prices in various
sales phases, to the overall development costs, to the percent of the lots
sales which would be seller-financed by Flagstone to generate allegedly
millions in post-development cash flows. Grabois' damages opinion is truly
little more than a thinly-veiled attempt to rubber-stamp Plaintiff Heath's own
speculative projections in his investment prospectus. Grabois' opinion is the
obvious product of unsupported speculation. It is decidedly inadmissible.
      Finally, even if we assume for the sake of argument that it was
acceptable under Rule 702 and Daubert for Grabois to simply copy and rely
upon Plaintiff Heath's own speculative estimates in the investment
prospectus, Grabois' damages opinion is nevertheless inadmissible because

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the information he copied from the prospectus proved inaccurate and
unreliable.   Heath admitted in his deposition that his projections in the
prospectus ended in "disarray" and were "completely undone" due to new
planning requirements from Musselshell County which drove up the costs
substantially, and significantly reduced the number of lots Flagstone could
sell. (SOF ¶¶ 10-11) Heath even admitted in an email that the County's new
planning requirements rendered his projected development "economically
unfeasible." (SOF ¶ 12) Grabois relied upon the prospectus' projections
anyway, which rendered his opinion unreliable and inadmissible. See Guillory
v. Domtar Indus. Inc., 95 F.3d 1320, 1331 (5th Cir. 1996) (expert opinion
based on incorrect or fictitious facts properly excluded as unreliable).
II. SUMMARY JUDGMENT ON PLAINTIFFS' LOST DEVELOPMENTAL
PROFITS DAMAGES CLAIM IS PROPER.
      Even if Grabois' damages opinion was somehow reliable enough to be
admitted, Plaintiffs' lost profits damages claim should still be dismissed. The
undisputed material facts establish Plaintiffs' lost profits claim is so deeply
mired in a mountain of Plaintiffs' own speculation about what their planned
development "would" have sold, cost, and earned that the claim cannot
survive summary judgment. American Title is entitled to summary judgment
on Plaintiffs' damages claim as a matter of law.
      It is well-settled that speculative testimony is generally inadmissible.
See Semenza v. Bowman, 268 Mont. 118, 125, 885 P.2d 451, 455 (1994);
Cottrell v. Burlington Northern Railroad Co., 261 Mont. 296, 303, 863 P.2d
381, 385 (1993); Williams v. Wallace, 143 Mont. 11, 13, 386 P.2d 744, 745
(1963). Not surprisingly, it is also well-settled that a plaintiff cannot recover
damages for alleged lost profits which are speculative. See Stensvad v.
Miners & Merchant Bank of Roundup, 196 Mont. 193, 640 P.2d 1303 (1982).
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Damages are only recoverable if they are "clearly ascertainable both in nature
and origin," and alleged lost profit damages must be "reasonably certain" to
be awarded. See Id. at 206, 640 P.2d at 1310.
      Moreover, when the plaintiff has no record of past profits to cite to, such
as in this case, the award of lost profits "may be sustained only if we can say
that the profits are not based on speculation." See Id. Therefore, if "there is
no reasonable certainty in the record that [the plaintiff] lost profits as the result
of the wrong, or that a profit would have been derived at all," lost profit
damages may not be awarded.             See Id. at 206-07, 640 P.2d at 1310
(reversing award of $511,695 for alleged lost profits), citing Tri-Tron Intern. v.
Velto, 525 F.2d 432 (9th Cir. 1975).
      District Judge Donald Molloy recently considered an analogous lost
profits claim in a lawsuit arising from a failed real property development. The
case is entitled Northwood Estates, LLC v. Wauer, 36 Mont. Fed. Rep. 235
(D. Mont. 2008). Plaintiff Northwood purchased real property in Whitefish,
Montana, with the intent of creating a ten-lot subdivision.             Northwood
subsequently sued the real estate agent and broker, alleging they failed to
disclose a covenant restricting development of the land to six lots. Northwood
sought damages for loss of projected profits. Northwood based its lost profits
claim on two one-page cost and profit analyses. Id. The defendants moved
for partial summary judgment on the proper measure of damages, arguing
that Northwood’s damages could not survive summary judgment because
Northwood's lost projected profits claim was speculative and lacked sufficient
factual support. See Northwood at 240.
      Judge Molloy granted the defendants' motion for partial summary
judgment on the proper measure of damages.                  Judge Molloy found

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Northwood did not have admissible evidence in the record regarding the
existence or amount of Northwood's alleged lost development profits. Id. at
246. More importantly, and relying upon Stensvad, supra, Judge Molloy
ruled the "more fundamental reason why Northwood's claim for lost profits
does not survive summary judgment" was because the claim was "hopelessly
speculative." Id. at 247.
      Plaintiffs' claim for alleged lost development profits is just as hopelessly
speculative as the claim in Northwood, and it should be dismissed just as the
claim in Northwood was dismissed.           It is difficult to envision a more
irretrievably speculative claim than Plaintiffs' alleged lost development profits
claim. Plaintiffs' claim projects the sale of over $40,000,000 in 585 twenty-
acre lots on land near Roundup, Montana, in only three years. Plaintiffs' claim
projects the development being fully built and completed at a cost of over
$25,000,000, and projects over $17,000,000 in profits for Plaintiffs. And all
of Plaintiffs' projections occur in the midst of the collapse of the real estate
market nationwide.      Heath's financial projections create a speculative
landslide that no lost profits claim could survive.
      In short, Plaintiffs' lost development profits claim does not come close
to being "reasonably certain." There is not a single component of the claim
which is or was "reasonably certain." The only certainty here is that Plaintiffs
have drastically over-reached. Therefore, under the standards set forth in
Stensvad and Northwood, Plaintiffs' lost development profits claim utterly fails
as a matter of law, and should be dismissed pursuant to American Title's
Motion for Partial Summary Judgment.
      Furthermore, should the Court exclude Plaintiffs' damages expert
Grabois, as Rule 702 and Daubert mandate, Plaintiffs will lack any evidence

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to support their lost profits damages claim, as Plaintiffs rely entirely upon
Grabois' opinion to support their damages. Therefore, summary judgment on
Plaintiffs' damages claim would be appropriate for the lack of evidentiary
support, too. See Northwood, supra.
      Indeed, dismissal of all of their causes of action against American Title
could be justified on the basis that Plaintiffs cannot establish the necessary
damages element for each of their causes of action against American Title
(negligence, breach of fiduciary duty, tortuous interference with contract, and
civil conspiracy). Summary judgment is proper when a plaintiff is unable to
offer proof of any element of his claim. See Hinkle v. Shepherd School
District #37, 2004 MT 175, ¶23, 93 P.3d 1239; Roe v. City of Missoula, 2009
MT 417, ¶35, 221 P.3d 1200. Moreover, where "a plaintiff presents evidence
of damages which are purely speculative, summary judgment is appropriate."
See Berger v. State, 215 Mont. 175, 179, 698 P.2d 399 (1985).
                               CONCLUSION
      For the foregoing reasons, American Title and Escrow's Motion to
Exclude testimony or evidence from Plaintiffs' damages expert Dale Grabois,
and American Title and Escrow's Motion for Partial Summary Judgment on
Plaintiffs' damages claim should both be granted.


      DATED this 7th day of August, 2011.

                                    MOULTON BELLINGHAM PC

                                    s/s Gerry Fagan
                                    Attorney for Defendant
                                    American Title and Escrow


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                      CERTIFICATE OF COMPLIANCE
       I hereby certify that the foregoing brief is in 14 point type and contains
3,722 words, excluding caption, signature, Certificate of Service and
Certificate of Compliance.
      Dated this 7th day of August, 2011.

                                     MOULTON BELLINGHAM PC

                                     By: /s/ Gerry Fagan
                                      GERRY FAGAN/MICHAEL E. BEGLEY
                                     ATTORNEYS FOR DEFENDANTS
                                     AMERICAN TITLE AND ESCROW




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                      CERTIFICATE OF SERVICE
      I hereby certify that on the 7th day of August, 2011, a copy of the
foregoing document was served on the following persons by the following
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